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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


                                                   :
    Jennifer Murtoff, on behalf of herself and all :
                                                     CASE NO.: ______
    others similarly situated                      :
                                                   :
                            Plaintiff,             :
            v.                                     :
                                                   :
                                                     CLASS ACTION COMPLAINT
    My Eye Dr. Optometrists, LLC and Capital :
    Vision Services, LLC,                          :
                                                   :
                            Defendant.             :
                                                   :


         For this Class Action Complaint, Plaintiff, Jennifer Murtoff, by undersigned counsel,

states on behalf of herself and a class of similarly situated persons as follows:

                                        INTRODUCTION

         1.     Plaintiff, Jennifer Murtoff (“Plaintiff”), brings this class action for damages

resulting from the illegal actions of Defendants My Eye Dr. Optometrists, LLC (“MyEyeDr.”)

and Capital Vision Services, LLC (“CVS,” and together with MyEyeDr., “Defendants”).

Defendants placed repeated telemarketing calls using a prerecorded and/or artificial voice to

Plaintiff’s cellular phone – over Plaintiff’s repeated requests for Defendants to stop and without

prior express written consent – in violation of the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq. (the “TCPA”).

         2.     MyEyeDr. is an eyewear company based in Virginia that operates “over 500

vision care centers across the United States.” 1




1
    https://www.myeyedr.com/about (last visited May 12, 2021).
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         3.      CVS purports to “manage[ ] independently owned optometry practices which

operate under the trade name MyEyeDr.”2

         4.      In an effort to sell more eyeglasses and market their services, Defendants operate

an aggressive telemarketing call campaign where they repeatedly calls consumers’ cellular

telephones using a prerecorded and/or artificial voice, without their consent and over their

specific objections to stop the calls.

         5.      Indeed, Plaintiff has never provided Defendants with prior express consent to

place telemarketing calls to her number. Nonetheless, Defendants have repeatedly called

Plaintiff’s cellular telephone with an identical prerecorded and artificial voice call recording

which states, inter alia, hat the call was coming from “MyEyeDr.,” “according to our records,

it’s time for your next eye exam” and demanding that Plaintiff “Call us today to schedule your

appointment or visit us online at myeyedr.com.”

         6.      Moreover, Plaintiff placed repeated outbound telephone calls to Defendants and

asked Defendants to cease calling her cellular telephone. However, despite Plaintiff’s requests

for Defendants to cease calling her, Defendants continued to place the same telemarketing calls

to Plaintiff.

         7.      Accordingly, Plaintiff seeks represent classes of similarly situated persons who

have also received unwanted prerecorded and artificial voice calls from Defendants without their

consent and over their objections, and to certify the following classes:

         No Prior Express Written Consent Class: All persons within the United States
         to whom (1) Defendants placed one or more prerecorded or artificial voice
         telemarketing calls, (2) to said person’s cellular telephone, (3) without prior express
         written consent, (4) within the four years prior to the filing of the Complaint.

         Do-Not-Call Class: All persons within the United States to whom (1) Defendants


2
    https://www.capitalvisionservices.com/about/ (last visited May 12, 2021).


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        placed one or more prerecorded or artificial voice telemarketing calls, (2) to said
        person’s cellular telephone, (3) after said person advised Defendants to stop calling
        them, (4) within the four years prior to the filing of the Complaint.

                                         JURISDICTION

        8.     This action arises out of Defendants’ repeated violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).

        9.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transacts business in this District and a substantial portion of the acts giving rise to

this action – including Plaintiff’s receipt of Defendants’ illegal telephone calls – occurred in this

District.

                                             PARTIES

        10.    Plaintiff, Jennifer Murtoff (“Plaintiff”), is an adult individual residing in

Broadview, Illinois, and is a “person” as the term is defined by 47 U.S.C. § 153(39).

        11.    Defendant My Eye Dr. Optometrists, LLC, is a Virginia business entity with a

principal place of business at 1950 Old Gallows Road, Suite 520, Vienna, Virginia 22182, and is

a “person” as the term is defined by 47 U.S.C. § 153(39).

        12.    Defendant Capital Vision Services, LLC, is a Delaware business entity with a

principal place of business at 1950 Old Gallows Road, Suite 520, Vienna, Virginia 22182, and is

a “person” as the term is defined by 47 U.S.C. § 153(39).

              THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

        13.    The TCPA regulates, among other things, the placement of telephone calls using a

prerecorded or artificial voice.

        14.    47 U.S.C. § 227(b)(1)(A)(iii) prohibits any call using “an artificial or prerecorded

voice” to a cellular phone without prior express consent by the person being called, unless the

call is for emergency purposes.


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       15.     In addition, “Prior express written consent” is required before making prerecorded

or artificial voice telemarketing calls, meaning there must be a written agreement, signed by the

person receiving the call or text, with a “clear and conspicuous disclosure” that specifically

authorizes the seller to send telemarketing communications using an automatic telephone dialing

system or an artificial or prerecorded voice. 47 C.F.R. § 64.1200.

                FACTUAL ALLEGATIONS APPLICABLE TO PLAINTIFF

       16.     Plaintiff never provided prior express written consent to Defendants to be

contacted on her cellular telephone.

       17.     Nonetheless, within the last four years Defendants began calling Plaintiff’s

cellular telephone, number 708-XXX-6877.

       18.     When Plaintiff did not answer Defendants’ calls to Plaintiff’s cellular telephone,

Defendants left messages on Plaintiff’s voicemail using a prerecorded and/or artificial female

robotic-sounding voice stating the message was from “MyEyeDr.” that “according to our

records, it’s time for your next eye exam” and demanding that Plaintiff “Call us today to

schedule your appointment or visit us online at myeyedr.com.”

       19.     The voicemail messages directed Plaintiff to call Defendants at telephone number

708-524-2020, which appears to be the telephone number associated with a MyEyeDr. retail

location located in Oak Park, Illinois. See https://locations.myeyedr.com/il/oak-park/122-north-

oak-park-ave (last visited May 12, 2021).

       20.     Following her receipt of several calls from Defendants, Plaintiff placed outbound

calls to Defendants on or about August 4, 2020 at, inter alia, telephone numbers 708-524-2020

and 888-414-4442. During the ensuing conversations with Defendants, Plaintiff asked

Defendants to cease calling her cellular telephone number.

       21.     Despite her August 2020 requests for Defendants to cease calling her, Defendants


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continued to place prerecorded and artificial voice telemarketing calls to Plaintiff’s cellular

telephone.

        22.     For instance, on March 19, 2021, Defendants left a voicemail message on

Plaintiff’s cellular telephone using a prerecorded and artificial voice that was identical to the

messages described above.

        23.     None of Defendants’ calls to Plaintiff’s cellular were for an emergency purpose.

        24.     Defendants’ calls directly interfered with Plaintiff’s right to peacefully enjoy a

service that Plaintiff paid for and caused Plaintiff a significant amount of anxiety, frustration,

annoyance, and anger.

                                CLASS ACTION ALLEGATIONS

A. The Classes

        25.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23 on behalf

of herself and all others similarly situated.

        26.     Plaintiff represents, and is a member of the following classes (the “Classes”):

        No Prior Express Written Consent Class: All persons within the United States
        to whom (1) Defendants placed one or more prerecorded or artificial voice
        telemarketing calls, (2) to said person’s cellular telephone, (3) without prior express
        written consent, (4) within the four years prior to the filing of the Complaint.

        Do-Not-Call Class: All persons within the United States to whom (1) Defendants
        placed one or more prerecorded or artificial voice telemarketing calls, (2) to said
        person’s cellular telephone, (3) after said person advised Defendants to stop calling
        them, (4) within the four years prior to the filing of the Complaint.

        27.     Defendants and their employees or agents are excluded from the Classes. Plaintiff

does not know the number of members in the Classes but believes the class members number in

the several thousands, if not more. Thus, this matter should be certified as a class action to assist

in the expeditious litigation of this matter.




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B. Numerosity

       28.     Upon information and belief, Defendants placed prerecorded and artificial voice

calls to cellular telephone numbers belonging to thousands of persons throughout the United

States where it lacked prior express written consent to place such calls and/or such persons had

previously asked Defendants to cease calling. The members of the Classes, therefore, are

believed to be so numerous that joinder of all members is impracticable.

       29.     The exact number and identities of the Class members are unknown at this time

and can only be ascertained through discovery. Identification of the Class members is a matter

capable of ministerial determination from Defendant’s records.

C. Common Questions of Law and Fact

       30.     There are questions of law and fact common to the Classes that predominate over

any questions affecting only individual Class members. These questions include:

               a. Whether Defendants’ calls to members of the Classes were placed for

                  telemarketing purposes;

               b. Whether Defendants placed prerecorded and artificial voice calls to persons’

                  cellular telephones after said persons asked Defendants to cease calling;

               c. Whether Defendants can meet their burden of showing they obtained prior

                  express written consent to place each telemarketing call;

               d. Whether Defendants’ conduct was knowing and/or willful;

               e. Whether Defendants are liable for damages, and the amount of such damages;

                  and

               f. Whether Defendants should be enjoined from such conduct in the future.

       31.     The common questions in this case are capable of having common answers. If




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Plaintiff’s claim that Defendants routinely place prerecorded and artificial voice telemarketing

calls to cellular telephone numbers without prior express consent, and over requests to stop the

calls, is accurate, Plaintiff and the Class members will have identical claims capable of being

efficiently adjudicated and administered in this case.

D. Typicality

       32.      Plaintiff’s claims are typical of the claims of the Class members, as they are all

based on the same factual and legal theories.

E. Protecting the Interests of the Class Members

       33.      Plaintiff will fairly and adequately protect the interests of the Class and has

retained counsel experienced in handling class actions and claims involving unlawful business

practices, and specifically claims under the TCPA. Neither Plaintiff nor her counsel has any

interests which might cause them not to vigorously pursue this action.

F. Proceeding Via Class Action is Superior and Advisable

       34.      A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of Class members in individually controlling the prosecutions of

separate claims against Defendants is small because it is not economically feasible for Class

members to bring individual actions.

                                 COUNT I
        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT,
                          47 U.S.C. § 227, ET SEQ.

       35.      Plaintiff repeats and realleges the above paragraphs of this Complaint and

incorporates them herein by reference.

       36.      Plaintiff brings this claim on behalf of herself and the Classes.

       37.      Defendants placed telemarketing calls using a prerecorded and/or an artificial




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voice to cellular telephones belonging to Plaintiff and the other members of the Classes without

their prior express written consent and not for any emergency purpose.

        38.       Moreover, Defendants placed telemarketing calls using a prerecorded and/or an

artificial voice to cellular telephones belonging to Plaintiff and the other members of the Classes

after they asked Defendants to cease calling them.

        39.       Each of the aforementioned calls by Defendants constitutes a violation of the

TCPA.

        40.       Plaintiff and the Classes are entitled to an award of $500.00 in statutory damages

for each message sent in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3).

        41.       Additionally, Plaintiff and the Classes are entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

        42.       Further, Plaintiff and the Classes are entitled to and seek a declaration from

Defendants that:

                 Defendants violated the TCPA; and

                 Defendants placed prerecorded and/or artificial voice telemarketing calls to

                  Plaintiff and the Classes without prior express written consent.

                              COUNT II
 WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT,
                       47 U.S.C. § 227, ET SEQ.

        43.       Plaintiff repeats and realleges the above paragraphs of this Complaint and

incorporates them herein by reference.

        44.       Plaintiff brings this claim on behalf of herself and the Classes.

        45.       Defendants knowingly and/or willfully placed telemarketing calls using a

prerecorded and/or an artificial voice to cellular numbers belonging to Plaintiff and the other




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members of the Class without their prior express written consent and not for any emergency

purposes.

       46.       Moreover, Defendants knowing and/or willfully placed telemarketing calls using

a prerecorded and/or an artificial voice to cellular telephones belonging to Plaintiff and the other

members of the Classes after they asked Defendants to cease calling.

       47.       Each of the aforementioned calls by Defendants constitutes a knowing and willful

violation of the TCPA.

       48.       Plaintiff and the Classes are entitled to an award of up to $1,500.00 in statutory

damages for each message sent in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3).

       49.       Additionally, Plaintiff and the Classes are entitled to and seek injunctive relief

prohibiting such conduct by Defendants in the future.

       50.       Further, Plaintiff and the Classes are entitled to and seek a declaration from

Defendants that:

                Defendants knowingly and/or willfully violated the TCPA;

                Defendants knowingly and/or willfully placed prerecorded and/or artificial voices

                 to calls to Plaintiff and the Classes without prior express written consent; and

                It is Defendants’ practice and history to place prerecorded and artificial voice

                 telemarketing calls to persons without their prior express consent.

                                      PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                 A. Injunctive relief prohibiting such violation of the TCPA by Defendants in the

                    future;




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             B. Statutory damages of $500.00 for each and every call in violation of the TCPA

                pursuant to 47 U.S.C. § 227(b)(3)(B);

             C. Treble damages of up to $1,500.00 for each and every call in violation of the

                TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

             D. An award of attorneys’ fees and costs to counsel for Plaintiff and the Classes;

                and

             E. Such other and further relief as may be just and proper.

                      TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: May 14, 2021

                                            Respectfully submitted,

                                            By___/s/ Sergei Lemberg________

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